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                                            U.S. Department of Justice
   [Type text]
                                                        United States Attorney
                                                        Southern District of New York
                                                       The Silvio J. Mollo Building
                                                       One Saint Andrew’s Plaza
                                                       New York, New York 10007


                                                        November 6, 2020

   BY ECF

   The Honorable Naomi Reice Buchwald
   United States District Judge
   Southern District of New York
   500 Pearl Street
   New York, New York 10007

          Re:     United States v. Miguel Angel Martinez, 19 Cr. 681 (NRB)

   Dear Judge Buchwald:

           A status conference in this matter is currently scheduled for November 12, 2020. The
   parties jointly respectfully request an adjournment of approximately sixty days. As noted in prior
   adjournment requests, the parties anticipate reaching a disposition in this matter following an in-
   person meeting between the defendant and the Government pursuant to 18 U.S.C. § 3553(f), which
   is currently not possible due to COVID-19 restrictions.

          Should the Court grant the parties’ joint adjournment request, the Government moves that
   time be excluded under the Speedy Trial Act, 18 U.S.C. § 3161, from November 12, 2020 until
   the date of rescheduled status conference, to allow for the defendant to continue to review
   discovery and for the parties to continue discussing a pretrial disposition. Defense counsel
   consents to the exclusion of time.

Application granted. The status                         Respectfully submitted,
conference is adjourned until
January 12, 2020 at 11:30 a.m.                          AUDREY STRAUSS
Speedy trial time is excluded through                   Acting United States Attorney
that date. 18 U.S.C. § 3161(h)(7)(A).
SO ORDERED.
                                 By:                    _____________________________
                                                        Emily A. Johnson
                                                        Assistant United States Attorney
                                                        (212) 637-2409
Dated:    New York, New York
          November 6, 2020
   cc:    Amy Gallicchio, Esq. (by ECF)
